        Case 20-41435-elm7                   Doc 21 Filed 08/15/20 Entered 08/15/20 23:25:56                         Desc
                                           Imaged Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Scott Edward Kestner                                        Social Security number or ITIN   xxx−xx−0186
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2              Misti Dawn Kestner                                          Social Security number or ITIN   xxx−xx−6410
(Spouse, if filing)
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Texas

Case number: 20−41435−elm7



Order of Discharge                                                                                                          12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Scott Edward Kestner                                          Misti Dawn Kestner


           8/12/20                                                        By the court: Edward L. Morris
                                                                                        United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.
However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




Official Form 318                                            Order of Discharge                                page 1
     Case 20-41435-elm7          Doc 21 Filed 08/15/20 Entered 08/15/20 23:25:56                Desc
                               Imaged Certificate of Notice Page 2 of 4




Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
         Case 20-41435-elm7        Doc 21 Filed 08/15/20 Entered 08/15/20 23:25:56                 Desc
                                 Imaged Certificate of Notice Page 3 of 4
                                      United States Bankruptcy Court
                                       Northern District of Texas
In re:                                                                                 Case No. 20-41435-elm
Scott Edward Kestner                                                                   Chapter 7
Misti Dawn Kestner
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0539-4          User: admin                  Page 1 of 2                   Date Rcvd: Aug 13, 2020
                              Form ID: 318                 Total Noticed: 52


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 15, 2020.
db/jdb         +Scott Edward Kestner,    Misti Dawn Kestner,     446 Mesa Ridge,   Decatur, TX 76234-5298
18952762      #+Alltran Financial,    PO Box 610,    Sauk Rapids, MN 56379-0610
18952766       +Big Ds Buildings,    3962 S. US Hwy 287,    Decatur, TX 76234-5074
18952767       +Bridgeport Equipment Services,     PO Box 1418,    Bridgeport, TX 76426-1418
18952769        Caterpillar Financial,    PO Box 6403,    Sioux Falls, SD 57117-6403
18952774       +County Court At Law No. 2 Wise County,     1007 13th St No. 109,     Bridgeport, TX 76426-3173
18952775       +Dedicated Commercial Recovery Inc,     1970 Oakcrest Ave.,    Ste. 217,
                 Saint Paul, MN 55113-2624
18952782       +First State Bank of Chico,    201 S Weatherford St,     Chico, TX 76431-2439
18952784       +GC Services Limited Partnership,     PO Box 865,    Houston, TX 77001-0865
18952789        Millennium Collections Corporation,     P.O. Box 6899,    Vero Beach, FL 32961-6899
18952790       +Nationwide Credit, Inc.,    P.O. Box 15130,     Wilmington, DE 19850-5130
18952791       +Ocwen Loan Servicing, LLC,    1661 Worthington Road, Ste. 100,     West Palm Beach, FL 33409-6493
18952795        PHH Mortgage Co,    3000 Leadenhall Rd,    Mount Laurel, NJ 08054
18952796       +Quality Carriers,    700 Minton Road,    Fort Worth, TX 76179-5603
18952797       +Quality Distribution Inc.,    1208 East Kennedy Blvd,     Suite 132,    Tampa, FL 33602-3506
18952798      #+Rausch Strum,    8691 W Sahara Ave Ste 210,     Las Vegas, NV 89117-4811
18952799       +Richard E Clark,    3030 S. Gessner Suite 200,     Houston, TX 77063-3733
18952806       +The DeGrasse Law Firm,    1800 Bering Dr.,    Suite 1000,    Houston, TX 77057-3169
18952808       +USDOE-GLELSI,    Attn: Bankruptcy,    Po Box 7860,    Madison, WI 53707-7860
18952809       +Wise County Tax Assessor,    404 W. Walnut,     Decatur, TX 76234-1372

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QMDGARNER.COM Aug 14 2020 04:43:00      Marilyn Garner,    Law Offices of Marilyn D. Garner,
                 2001 E. Lamar Blvd., Suite 200,    Arlington, TX 76006-7347
cr             +EDI: RMSC.COM Aug 14 2020 04:43:00      Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
18952764        EDI: AMEREXPR.COM Aug 14 2020 04:43:00      American Express,    P.O. Box 0001,
                 Los Angeles, CA 90096-8000
18952763       +EDI: BECKLEE.COM Aug 14 2020 04:43:00      American Express,    Attn: General Bankruptcy Dept.,
                 16 General Warren Blvd.,    Malvern, PA 19355-1245
18952765       +EDI: AMEREXPR.COM Aug 14 2020 04:43:00      Amex,   Correspondence-Bankruptcy,    Po Box 981540,
                 El Paso, TX 79998-1540
18952768       +EDI: CAPITALONE.COM Aug 14 2020 04:43:00      Capital One,    Attn: Bankruptcy,   Po Box 30285,
                 Salt Lake City, UT 84130-0285
18952771       +EDI: CITICORP.COM Aug 14 2020 04:43:00      Citibank,   Attn: Recovery-Centralized Bankruptcy,
                 Po Box 790034,   St Louis, MO 63179-0034
18952772        EDI: CITICORP.COM Aug 14 2020 04:43:00      Citibank,   Centralized Correspondence,
                 P.O. Box 6077,   Sioux Falls, SD 57117-6077
18952773       +EDI: WFNNB.COM Aug 14 2020 04:43:00      Comenity Bank - Bealls,    Attn: Bankruptcy,
                 Po Box 182125,   Columbus, OH 43218-2125
18952776        E-mail/PDF: DellBKNotifications@resurgent.com Aug 14 2020 01:33:50
                 Dell Financial Services LLC,    Attn: President-CEO,   Po Box 81577,    Austin, TX 78708
18952777        EDI: DISCOVER.COM Aug 14 2020 04:43:00      Discover Financial,    Attn: Bankruptcy Department,
                 Po Box 15316,   Wilmington, DE 19850
18952778        E-mail/Text: merchantsupportmanager@expansioncapitalgroup.com Aug 14 2020 01:26:54
                 Expansion Capital,   5020 S. Broadband Ln Suite 100,    Sioux Falls, SD 57108
18952780       +EDI: AMINFOFP.COM Aug 14 2020 04:43:00      First PREMIER Bank,    Attn: Bankruptcy,
                 Po Box 5524,   Sioux Falls, SD 57117-5524
18952779        EDI: AMINFOFP.COM Aug 14 2020 04:43:00      First Premier Bank,    P.O. Box 5529,
                 Sioux Falls, SD 57117-5529
18952781       +EDI: FSAE.COM Aug 14 2020 04:43:00      First Source Advantage,    205 Bryant Woods South,
                 Buffalo, NY 14228-3609
18952783       +EDI: FSAE.COM Aug 14 2020 04:43:00      Firstsource Advantage, LLC,    205 Bryant Woods South,
                 Buffalo, NY 14228-3609
18952786       +E-mail/Text: bankruptcy.notices@hdfsi.com Aug 14 2020 01:29:04       Harley Davidson Financial,
                 Po Box 22048,   Carson City, NV 89721-2048
18952787        EDI: HY11.COM Aug 14 2020 04:43:00      Hyundai Motor Finance,    P.O. Box 7160,
                 Pasadena, CA 91109-7160
18952788        EDI: IRS.COM Aug 14 2020 04:43:00      Internal Revenue Service,    PO Box 7346,
                 Philadelphia, PA 19101-7346
18952770        EDI: JPMORGANCHASE Aug 14 2020 04:43:00      Chase Card Services,    Attn: Bankruptcy,
                 Po Box 15298,   Wilmington, DE 19850
18952792        E-mail/Text: patricia_lewis@ooida.com Aug 14 2020 01:28:02       Owner-Operator Services, Inc.,
                 P.O.Box 1000,   Grain Valley, MO 64029-1000
18952785        E-mail/Text: goalrealignment@payoff.zendesk.com Aug 14 2020 01:26:47       Happy Money,
                 3200 Park Center Drive, 8th Floor,    Costa Mesa, CA 92626
18952960       +EDI: PRA.COM Aug 14 2020 04:43:00      PRA Receivables Management, LLC,    PO Box 41021,
                 Norfolk, VA 23541-1021
18952793       +E-mail/Text: goalrealignment@payoff.zendesk.com Aug 14 2020 01:26:47       Payoff,inc.,
                 3200 Park Center Dr Ste,    Costa Mesa, CA 92626-7163
18952794       +EDI: RMSC.COM Aug 14 2020 04:43:00      Paypal Credit,   P.O. Box 105658,
                 Atlanta, GA 30348-5658
            Case 20-41435-elm7             Doc 21 Filed 08/15/20 Entered 08/15/20 23:25:56                                 Desc
                                         Imaged Certificate of Notice Page 4 of 4


District/off: 0539-4                  User: admin                        Page 2 of 2                          Date Rcvd: Aug 13, 2020
                                      Form ID: 318                       Total Noticed: 52


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
18952800        E-mail/Text: Bankruptcy@stearnsbank.com Aug 14 2020 01:27:00       Stearns Bank,
                 9225 E Shea Blvd,    Scottsdale, AZ 85260
18952801       +EDI: RMSC.COM Aug 14 2020 04:43:00      Syncb-Nautilus,   Attn: Bankruptcy,    Po Box 965060,
                 Orlando, FL 32896-5060
18952802       +EDI: RMSC.COM Aug 14 2020 04:43:00      Syncb-NewEgg,   Attn: Bankruptcy,    Po Box 965060,
                 Orlando, FL 32896-5060
18952803       +EDI: RMSC.COM Aug 14 2020 04:43:00      Synchrony Bank-Amazon,    Attn: Bankruptcy,
                 Po Box 965060,    Orlando, FL 32896-5060
18952804       +EDI: RMSC.COM Aug 14 2020 04:43:00      Synchrony Bank-Gap,    Attn: Bankruptcy Dept,
                 Po Box 965060,    Orlando, FL 32896-5060
18952805       +EDI: RMSC.COM Aug 14 2020 04:43:00      Synchrony Bank-Lowes,    Attn: Bankruptcy,
                 Po Box 965060,    Orlando, FL 32896-5060
18952807        EDI: USBANKARS.COM Aug 14 2020 04:43:00      US Bank-RMS CC,    Attn: Bankruptcy,   Po Box 5229,
                 Cincinnati, OH 45201
                                                                                              TOTAL: 32

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 15, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 12, 2020 at the address(es) listed below:
              Marilyn Garner    mgarner@ecf.axosfs.com;kkelly@marilyndgarner.net;courtdoc@marilyndgarner.net
              Nicholas M Wajda   on behalf of Debtor Scott Edward Kestner nick@recoverylawgroup.com,
               3606@notices.nextchapterbk.com;r47098@notify.bestcase.com
              Nicholas M Wajda   on behalf of Joint Debtor Misti Dawn Kestner nick@recoverylawgroup.com,
               3606@notices.nextchapterbk.com;r47098@notify.bestcase.com
              United States Trustee   ustpregion06.da.ecf@usdoj.gov
                                                                                            TOTAL: 4
